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10
                         UNITED STATES DISTRICT COURT
11
                      SOUTHERN DISTRICT OF CALIFORNIA
12
13
     IN RE: PACKAGED SEAFOOD                      Case No. 15-MD-2670 DMS (MDD)
14   PRODUCTS ANTITRUST
15   LITIGATION
                                                  END PAYER PLAINTIFFS’
16                                                MEMORANDUM OF POINTS AND
17                                                AUTHORITIES IN SUPPORT OF
     This Document Relates To:                    THEIR MOTION FOR APPROVAL
18                                                OF CLASS NOTICE PLAN
19   End Payer Plaintiffs Class Track
                                                  DATE:    August 26, 2022
20
                                                  TIME:    1:30 P.M.
21                                                JUDGE:   Hon. Dana M. Sabraw
22                                                CTRM:    13A (13th floor)
23
24
25
26
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28



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1    I.    INTRODUCTION
2          Pursuant to the Court’s July 15, 2022 Order Granting End Payer Plaintiffs’
3    Motion for Costs in Conjunction with the COSI Settlement (ECF No. 2872 at 8)
4    (“Final Approval Order Costs)”, End Payer Plaintiffs (“EPPs”), on behalf of
5    themselves and all members of the certified EPP Class1 in the above-referenced
6    action, hereby submit this proposed plan for dissemination of class notice to the EPP
7    Class (the “Class Notice Plan”).
8          EPPs will and hereby do request, under Rule 23 of the Federal Rules of Civil
9    Procedure, for entry of an Order:
10          (1)   Appointing JND Legal Administration LLC (“JND”) as the notice
11                administrator; and
12          (2)   Approving the Class Notice Plan as the “best notice that is practicable
13                under the circumstances”; and
14
            (3)   Setting a deadline (the “Opt Out Deadline”) for persons to seek
15
                  exclusion from the Class; and
16
            (4)   Approving the form and content of the proposed class notice(s).
17
           As discussed more fully infra, EPPs’ Class Notice Plan satisfies Federal Rule
18
     of Civil Procedure 23 and comports with due process. The Class Notice Plan is the
19
     best practicable under the circumstances.      See Declaration of Gina Intrepido-
20
     Bowden Re: Proposed Plan for Class Notice on Behalf of End Payer Plaintiffs
21
22   (“Intrepido-Bowden Decl.”), ¶ 26. The Class Notice Plan is designed to effectively

23   reach more than 70% of potential Class Members and provide Class Members with
24   information in plain language in order for Class Members to understand their rights
25
26   1
           See ECF No. 1931 (“Class Order”), affirmed by Olean Wholesale Grocery
27   Coop., Inc. v. Bumble Bee Foods LLC, 31 F.4th 651 (9th Cir. 2022) (en banc). For
28   convenience, the Cartwright Act class and 32 individual state classes certified by the
     Court are referred to herein as the “Class.”

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1    and options and be able to take next steps (i.e., learn more, opt out, or ask questions).
2    Id.
3                EPPs respectfully request that the Court enter the proposed Order Approving
4    EPPs’ Class Notice Plan (the “Class Notice Plan Order”), submitted herewith. The
5    Class Notice Plan Order will, among other things, approve the proposed method for
6    disseminating the notice to the Class (Intrepido-Bowden Decl.) and appoint JND,
7    the well-respected and experienced settlement notice administrator as the notice
8    administrator.
9          II.      RELEVANT PROCEDURAL BACKGROUND
10               To properly understand the timing and context of the Class Notice Plan, it is
11   important to review the procedural interaction between the Class Order and EPPs’
12   partial settlement with Defendant Chicken of the Sea (“COSI”). See §§ (II)(A)-(B),
13   infra. To assist the Court in evaluating the Class Notice Plan and the reasoning for
14
     combing the Class Notice Plan with the on-going COSI Settlement Notice, one needs
15
     to review the details, design, and Court approval of the robust and effective
16
     settlement notice plan (the “Settlement Notice Plan”). See §§ (II)(C)-(D), infra.
17
                 A. COSI Settlement and Class Certification
18
                 Before certifying the Class, the Court heard oral argument and expert
19
     testimony regarding class certification on January 14-16, 2019, and, shortly
20
     thereafter, EPPs and COSI began informal settlement talks. See Declaration of Betsy
21
22   C. Manifold in Support of End Payer Plaintiffs’ Motion for Approval of Class Notice

23   Plan (the “Manifold Decl.”) filed concurrently herewith, ¶ 3.             After multiple
24   exchanges over several months, including an all-day informal mediation, on April
25   25, 2019, COSI signed a memorandum of understanding (“MOU”) agreeing to settle
26   the EPPs’ claims. Id. After the MOU was signed, on July 30, 2019, the Court
27   certified EPPs’ and the other Plaintiffs’ classes. See Class Order.
28


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1          On August 13, 2019, the Non-settling Defendants2 filed a Rule 23(f) petition
2    with the United States Court of Appeals for the Ninth Circuit (“Ninth Circuit”)
3    seeking permission to appeal this Court’s Class Order. See Olean Wholesale
4    Grocery Coop v. Bumble Bee Foods LLC, No. 19-80108 (9th Cir. Aug. 13, 2019),
5    ECF No. 1-3. On December 20, 2019, the Ninth Circuit granted the petition. See
6    ECF No. 2248 (“Notice of Appeal”). Although EPPs finalized the COSI Settlement,
7    just before the District Court issued its decision certifying the Class, preliminary
8    approval of the partial COSI Settlement was delayed until January 26, 2022. ECF
9    No. 2734 (“Preliminary Approval Order”). The delay was due, in part, to the Non-
10   settling Defendants’ appeal of the Court’s Class Order. The appellate journey of the
11   Class Order in the Ninth Circuit ended with an April 8, 2022 en banc decision
12   upholding the Class Order. Olean Wholesale Grocery Coop., Inc. v. Bumble Bee
13   Foods LLC, 31 F.4th 651 (9th Cir. 2022); ECF No. 2828 (“Order re: Mandate”).3
14         B. Reasons for the Delay of COSI Settlement and Class Notice
15         While the aforementioned appellate process was on-going, EPPs drafted the
16   form and content of the class notices and anticipated disseminating a notice that
17   jointly notifies the Class of the Court’s Class Order and of the COSI Settlement.
18   See Joint Motion for Stipulation Holding Deadlines in Abeyance as to Tri-Union
19
20
21   2
           The Non-settling Defendants are StarKist Co. and its parent Dongwon
22   Industries Co., Ltd. (collectively “StarKist”) and various “Lion Capital” entities (i.e.,
     Lion Capital (Americas), Inc., Big Catch Cayman LP, and Lion Capital LLP).
23
     3
24          At the recent Mandate Hearing, the Non-settling Defendants expressed an
     intention to appeal the Ninth Circuit opinion to the Supreme Court. By letter dated
25   June 27, 2022, the Supreme Court granted an application for an extension of time
26   within which to file a petition for a writ of certiorari to and including August 8, 2022.
     See Olean Wholesale Grocery Coop v. Bumble Bee Foods LLC, No. 19-56514 (9th
27   Cir. July 6, 2022).
28


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1    Seafoods LLC and Thai Union Group PCL (ECF No. 1921). However, based on the
2    status of the appeal, the Non-Settling Defendants objected to the Class Notice. ECF
3    No. 2581, 2588. On May 11, 2021, the Court denied EPPs’ motion for preliminary
4    approval of the COSI Settlement (ECF No. 2552), including Class Notice, as
5    premature given the pending appeal. ECF No. 2593.
6          After en banc review of the Class Order was granted, on November 10, 2021,
7    the Court agreed to rule on the pending motions for preliminary approval and issued
8    an Order Denying without Prejudice Class Plaintiffs’ Motions for Preliminary
9    Approval of the Settlements with Defendants Chicken of the Sea and Thai Union
10   Group. ECF No. 2651 (“November 10, 2021 Order”). The Court in its November
11   10, 2021 Order invited class counsel to address concerns raised by the Court and to
12   renew their respective motions. On December 1, 2021, EPPs filed a supplemental
13   memorandum in support of their renewed motion and sought to provide notice to a
14   Settlement Class to be certified by the Court. ECF No. 2673-1. On January 26,
15   2022, the Court granted EPPs’ renewed motion for preliminary approval of the
16   partial settlement. See Preliminary Approval Order.
17         C. Robust and Effective Settlement Notice Plan
18         For the Settlement Notice Plan provider, as discussed above, EPPs retained
19   JND, an experienced and well-respected claims administrator. JND administered a
20   comprehensive and robust Settlement Notice Plan from February 17, 2022 through
21   April 13, 2022 to alert Settlement Class Members of the COSI Settlement and will
22   continue to handle class notice and claims administration. ECF No. 2827, ¶¶ 2-3, 6,
23   20, 29. The Settlement Notice Plan is substantially similar to the Class Notice Plan
24
     and consisted of digital placements with the leading digital network (Google Display
25
     Network or “GDN”) and the top social media platform (Facebook); a print placement
26
     in a highly read consumer magazine (People); and audio placements through a top
27
     radio syndicator (iHeartMedia); digital “look-a-like” targeting on GDN, Facebook,
28


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1    and Instagram; an internet search campaign; and the distribution of a national press
2    release. Id., ¶ 4. JND also established and has maintained a settlement website,
3    mailing address, email, and toll-free telephone number. Id., ¶ 5. The settlement
4    website will be updated for the Class Notice Plan.
5          The Settlement Notice Plan exceeded expectations and reached over 85% of
6    potential settlement class members. Id., ¶ 30. As of July 15, 2022, the Settlement
7
     Notice Plan delivered 761 million digital media impressions. Manifold Decl., ¶ 10.
8
     The success of this Settlement Notice Plan is clear based on the over 703,000 unique
9
     visitors to the settlement website and 2.6 million page views. Id. The response of
10
     the Settlement Class is overwhelmingly positive, with 436,650 claims received and
11
     only one request for exclusion (107 known Direct Action Plaintiff entities). Id.
12
           D.     Best Practicable Settlement Notice Was Provided
13
           On July 15, 2022, the Court granted final approval of the COSI Settlement.
14
     See ECF No. 2871, 2872. The Court found that “the [JND] engaged in a notice plan
15
     with an appropriate depth of reach for a settlement class with tens of millions
16
     consumers. See ECF No. 2827, ¶ 6 (exceeding 85% goal); ECF No. 2871 at 2-3 (“
17
     . . . settlement class members received the best notice that is practicable in such a
18
     large consumer action.”). The Court further determined that “due process was
19
     satisfied and the Notice Program provided adequate notice to settlement class
20
     members in a reasonable manner through all major and common forms of media.”
21
     ECF No. 2871 at 15.
22
           As part of the final approval process, the Court also approved a further
23
     distribution of $97,870 to cover a reminder media campaign as provided under the
24
     Settlement Notice Plan. ECF No. 2872 at 4. The Court also approved Class
25
     Counsel’s request that the proposed follow up campaign be delayed in order for
26
     Class Counsel to submit this Class Notice Plan in order to combine media efforts.
27
     Id. at 8. Combining the follow up media campaign under the Court-approved
28


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1    Settlement Notice Plan and the Class Notice Plan permits a more cost effective
2    notice program and allows EPPs to build upon the successful media campaign
3    undertaken to date.
4    III.   LEGAL STANDARD
5           After a court certifies a class under Federal Rule of Civil Procedure 23(b)(3),
6    it “must direct to class members the best notice that is practicable under the
7    circumstances, including individual notice to all members who can be identified
8    through reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B). The notice must clearly and
9    concisely identify:
10
            (i)   the nature of the action;
11          (ii)  the definition of the class certified;
12          (iii) the class claims, issues, or defenses;
            (iv)  that a class member may enter an appearance through an attorney
13
                  if the member so desires;
14          (v) that the court will exclude from the class any member who
15                requests exclusion;
            (vi) the time and manner for requesting exclusion; and
16          (vii) the binding effect of a class judgment on members under Rule
17                23(c)(3).
18
     Id. Class notice must afford potential class members the ability to “make an
19
     informed decision about their participation [in the litigation].” MANUAL          FOR
20
     COMPLEX LITIGATION (FOURTH) § 21.311 at 289 (2004) (“Manual”).
21
            To satisfy due process, notice must be “reasonably calculated, under all the
22
     circumstances, to apprise interested parties of the pendency of the action and afford
23
     them an opportunity to present their objections.” Mullane v. Cent. Hanover Bank &
24
     Trust Co., 339 U.S. 306, 314 (1950).         There is no statutory or due process
25
     requirement that all class members receive actual notice by mail or other means;
26
     rather “individual notice must be provided to those class members who are
27
     identifiable through reasonable effort.” Eisen v. Carlisle & Jacquelin, 417 U.S. 156,
28
     175 (1974); see also Manual § 21.311 n.882.

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1    IV.   ARGUMENT
2          A.     The Court Should          Appoint    JND     as   Class   Notice
                  Administrator
3
           EPPs propose JND as the administrator for the Class Notice Plan. As
4
     discussed above, JND, a nationally recognized notice and claims administration
5
6    firm, successfully conducted a robust court-approved Settlement Notice Plan in this

7    litigation which exceeded expectations. See §§ (II)(C)-(D), supra. JND is well-
8    qualified to perform the tasks associated with administering the notice procedures
9    outlined in the Class Notice Plan. EPPs respectfully request that JND be appointed
10   as the notice administrator.
11         B.  The Proposed Method of Class Notice Satisfies Rule 23 and
               Due Process and Should be Approved
12
           When evaluating the adequacy of class notice, a court should look to its
13
     reasonableness.    See Silber v. Mabon, 18 F.3d 1449, 1454 (9th Cir. 1994)
14
     (concluding that the appropriate question remains “what notice is reasonably certain
15
     to inform the absent members of the plaintiff class,” and the appropriate standard is
16
     the “best notice practicable”) (internal citation and quotations omitted). As courts
17
     have explained, Rule 23 requires only the best notice that is practicable under the
18
     circumstances, including individual notice to all members who can be identified
19
     through reasonable effort. Briseno v. ConAgra Foods, Inc., 844 F.3d 1121, 1128–
20
     29 (9th Cir. 2017), cert. denied sub nom. ConAgra Brands, Inc. v. Briseno, 138 S.
21
     Ct. 313 (2017) (citing Fed. R. Civ. P. 23(c)(2)(B)); see also Bruno v. Quten
22
     Research Inst., LLC, No. SACV 11-00173 DOC (Ex), 2012 U.S. Dist. LEXIS
23
     196467, at *4 (C.D. Cal. July 16, 2012) (“Notice plans are not expected to reach
24
     every class member; Rule 23 requires the best notice ‘practicable,’ not perfect
25
     notice.”). Likewise, due process does not require actual, individual notice in all
26
     cases. Briseno, 844 F.3d at 1129. Courts have routinely permitted alternative means
27
     such as notice through third parties, paid advertising, posting in places frequented
28


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1    by class members, and notice by publication in a periodical or on a website, all
2    without offending due process. Id. (citations omitted).
3          EPPs’ Class Notice Plan meets these standards. Here, the combined Class
4    exceeds 100 million Class Members located throughout the United States and Guam.
5    Due to the sheer multitude of Class Members, EPPs’ proposed method of providing
6    notice to the Class (described in detail below) is adequate and reasonable under the
7    circumstances. A substantially similar proposed method of notice dissemination was
8    also approved by the Court in the COSI Settlement. See ECF No. 2871.
9          1. Plan Delivery Estimated to Reach Over 70%
10        JND designed a Class Notice Plan that is estimated to reach over 70% of
11   potential Class Members via digital placements with the leading digital GDN and
12   two of the top social media platforms (Facebook and Instagram). Intrepido-
13   Bowden Decl., ¶¶ 8, 9-13. Additional efforts include a direct notice update to all
14   COSI Settlement claimants, an internet search campaign, the distribution of a
15
     national press release in English and Spanish, and a digital re-targeting and
16
     programmatic effort. Id. These additional efforts will extend reach beyond 70%.
17
     Id. Based on JND’s analysis, the proposed media effort will broadly target adults
18
     18 years of age or older (“Adults 18+”), with a portion of their efforts allocated to
19
     Spanish speakers. Id., ¶¶ 10-12. In terms of media usage, MRI data indicates that
20
     Canned Tuna Purchasers are active internet users: 94% are on the internet in a 30-
21
     day period; 83% use their cellphone or smartphone to access the internet; 65% visit
22
23   Facebook; and 35% visit Instagram in a 30-day period. Id., ¶13.

24        This Class Notice Plan includes direct notice to COSI Settlement Claimants.
25   JND will send an updated notice to all COSI Settlement Claimants to alert them to
26   the class litigation and their option to remain in the Class and receive their COSI
27   Settlement payments or opt out of the Class and withdraw their COSI Settlement
28   Claim. Intrepido-Bowden Decl., ¶¶ 8, 17(a).


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1          JND identifies the media campaign elements of the Class Notice Plan as
2    “Digital Effort”, “Internet Search Campaign”, “Press Release”, “Digital
3    ‘Retargeting’ Efforts”, and “Programmatic Digital Buy”. Intrepido-Bowden Decl.,
4    ¶¶ 14-17.     The Digital Effort alone includes over 399 million impressions
5    distributed over 10 weeks across all devices (desktop, laptop, tablet and mobile),
6    with an emphasis on mobile.4 Id., ¶ 15. Activity is served over GDN, a vast
7
     network that reaches over 90% of internet users, and Facebook and Instagram, two
8
     popular social media platforms. Id. The programmatic digital buy will deliver
9
     500,000 impressions to a qualified niche group of Adults 18+ who have likely
10
     purchased canned tuna. Id., ¶ 17(d).
11
            2. Notice Design and Content Complies with Rule 23
12
         The notice documents have been written in plain language. Intrepido-Bowden
13
     Decl, Ex. B, C, D. The notices contain clear and understandable summaries of the
14
15   litigation and the options that are available to Class Members. Id. Additionally, the

16   notice documents provide instructions on how to obtain more information about the
17   litigation. 5 Id.
18          Courts have repeatedly held that notice plans with similar reach satisfy Rule
19
20   4
            Digital ads include an embedded link to the case website, where Class
21   Members can get more information. Id., ¶ 16. JNB will also update and maintain
22   the case website (www.tunaendpurchasersettlement.com). The case website is
     optimized for mobile visitors so that information loads quickly on mobile devices
23   and is designed to maximize search engine optimization through Google and other
24   search engines. Id., ¶ 18. The case website is ADA-complaint. Id. JNB will also
     maintain a toll-free number and P.O. Box for opt-outs and inquires. Id., ¶¶ 21, 22.
25
     5
26         To the extent that some Class Members may speak Spanish as their primary
     language, the printed notice documents include a subheading in Spanish directing
27   Spanish-speaking Class Members to visit the case website or call the toll-free
28   number for a Spanish language notice


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1    23(c)(2)(B). See Beck-Ellman v. Kaz USA, Inc., No. 3:10-CV-02134-H-DHB, 2013
2    U.S. Dist. LEXIS 60182, at *11, 24 (S.D. Cal. Jan. 7, 2013) (approving notice plan
3    designed to reach at least 70% of class members); Chinitz v. Intero Real Estate
4    Servs., No. 18-cv-05623-BLF, 2020 U.S. Dist. LEXIS 224999, at *2 (N.D. Cal. Dec.
5    1, 2020) (same). “The Federal Judicial Center has concluded that a notice plan that
6    reaches at least 70% of the class is reasonable.” Chinitz at *5 (citing Fed. Jud.
7    Ctr., Judges’ Class Action Notice and Claims Process Checklist and Plain
8    Language Guide 3 (2010)).6 District courts have “'broad power and discretion
9    vested in them by [Rule 23]’ in determining the parameters of appropriate
10   class notice.” Id. (quoting Reiter v. Sonotone Corp., 442 U.S. 330, 345 (1979)).
11           Based on their knowledge and expertise, JND believes that the Class Notice
12   Plan is the best practicable under the circumstances. Intrepido-Bowden Decl., ¶ 26.
13   The Class Notice Plan is designed to effectively reach more than 70% of potential
14   Class Members and provide them with information to understand their rights and
15   options and the ability to learn next steps (learn more, opt out, or ask questions). Id.
16   See Ross v. Trex Co., No. C 09-00670 JSW, 2013 U.S. Dist. LEXIS 29081, at *6
17
     (N.D. Cal. Mar. 4, 2013) (“Due Process does not entitle a class member to ‘actual
18
     notice’ but rather to the best notice practicable, reasonably calculated under the
19
     circumstances to apprise him of the pendency of the class action and give him a
20
     chance to be heard.”) (citing Silber, 18 F.3d at 1453-54).
21
     V.      CONCLUSION
22
             EPPs’ Class Notice Plan fully comports with the requirements of Federal Rule
23
     of Civil Procedure 23(c)(2)(B) and due process because it constitutes the best notice
24
     practicable under the circumstances. Based on the foregoing, EPPs respectfully
25
26   request that this Court: (i) appoint JND as the notice administrator; (ii) approve the

27
28
     6
         See https://www.fjc.gov/sites/default/files/2012/NotCheck.pdf.

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1    Class Notice Plan; (iii) set a deadline for opt-outs; and (iv) approve the form and
2    content of the Class Notice.
3            Finally, EPPs respectfully request that the Court approve the following
4    schedule for Class Notice as set forth in the Class Notice Plan Order:
5
6
      Deadline to update website/toll-free 14 Days after Approval Order
7
      number                                           (September 9, 2022*)
8
      Deadline to launch Media Campaign                16 Days after Approval Order
9
                                                       (September 11, 2022*)
10
      Deadline for completion of Class Notice 86 Days after Approval Order (10 week
11
      Plan                                             media campaign)
12
13                                                     (November 20, 2022*)

14    Deadline for filing of affidavit attesting 107 Days after Approval Order
15    that Class Notice was disseminated as (December 11, 2022*)
16    ordered
17    Deadline for Class members to opt out 121 Days after Approval Order
18    of the Class                                     (December 25, 2023*)
19    Deadline     for   Plaintiffs   to    submit 135 Days after Approval Order
20    Proposed Order re: due process and (January 8, 2023*)
21    exclusions
22                                         *Assuming Approval Order Signed August 26, 2022
23
24   Dated: July 29, 2022                        Respectfully submitted,
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                                                /s/ Betsy C. Manifold
28                                              BETSY C. MANIFOLD


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